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I]NITED STATES OF AMERICA                  )
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                                           )
RONBERNARDALLEN                            )

                      CONSENT ORDER OF FORFEITURE

      WHEREAS, on August 8,2017, a Federal Grand Jury sitting in the Southern

District of Georgia returned a twenty-two count Indictment, of which, two counts

specifically named defendant Ron Bernard ,{llen (hereafter, the "Defendant").

      WHEREAS, the Indictment sought for-feiture pursuant to 21 U.S.C. $ 853,

which permits forfeiture to the United States, any property constituting, or derived

from, any proceedsobtained, directly or indirectly, as the result of such offense and

any property used, or intended to be used, in a manner or part, to commit, or to

facilitate the commission of an offense.

      WHEREAS, on March 7, 2078, the Defendant pled guilty pursuant to a

written   plea agreement to the lesser-included offense of Count One of the

Indictment, Conspiracy to Possesswith Intent to Distribute 50 Kilograms or More

Marijuana, in violation of 21 U.S.C. $ 846.

      WHEREAS, pursuant to his plea agreement, the Defendant agreed to forfeit

any right to any property seized in this case, specifically $50,995.00 in U.S.

cufl'ency and four (4) cotton candy machines (collectively, the "Subject Property").
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      WHEREAS, the Defendant agreed to waive the provisions of the Federal

Rules of Criminal Procedure 32.2, and 43(a) with respect to notice in the Indictment

that the Government will seek forfeiture as part of any sentence in this case, and

agreed that entry of this order shall be made a part of the sentence in or out of the

presence of the Defendant and be included in the judgment in this case without

further order ofthe Court.

      NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREEDTIIAT:

      1.     Pursuant to 21 U.S.C. $ 853 and Rule 32.2(b)(1),Federal Rules of

Criminal Procedure, the Subject Property is hereby forfeited to the United States.

      2.     Upon the entry of this Order, in accordance with Fed. R. Crim. P.

32.2(bX3), the Attorney General (or a designee) is authorized to seize the Subject

Property, and to conduct any discovery that may assist in identifiring, locating or

disposing of the Subject Property, any property traceable thereto, or any property

that may be forfeited as substitute assets.

      3.     Upon entry of this Order, the Attorney General (or a designee) is

authorized to commence any applicable proceeding to comply with             statutes

governing third-party rights, including giving notice ofthis Order.

      4.     To the extent that the Subject Property includes specific property and

is not limited to a judgment for a sum of money, the United States shall publish

notice of the order and its intent to dispose of the Subject Property on the

Government's internet website, www.forfeiture.gov. The United States shall aiso
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provide written notice to any person who reasonably appears to be a potential

claimant with standing to contest the forfeiture in the ancillary proceeding. The

notice must describe the forfeited property, state the times under the applicable

statute when a petition contesting the forfeiture must be filed, and state the name

and contact information for the Government attorney to be served with the petition.

SeeFed. R. Crim. P. 32.2(bX6).

      5.     Any person, other than the above named defendant, asserting a legal

interest in the Subject Property may, within thirty (30) days of the receipt of notice,

or rvithin sixty (60) days of the first publication of notice on the internet website,

whichever is earlier, petition the court for a hearing without a jury to adjudicate the

validity of his alleged interest in the Subject Property, and for an amendment of the

order of forfeiture, putsuant to 21 U.S.C. $ 853(n).

      6.     Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Consent Order of

Forfeiture shall becomefina"l as to the defendant at the time of sentencing and shall

be made part of the sentence and included in the judgment. If no third-party frles a

timely claim, this Order shall becomethe Final Order of Forfeiture, as provided by

Fed. R. Crim. P. 32.2(c)12).

      7.     Any petition filed by a third-party asserting an interest in the Subject

Property shall be sigrred by the petitioner under penalty of pe{ury and shall set

forth the nature and extent of the petitioner's right, title, or interest in the Subject

Property, the time and circumstances of the petitioner's acquisition of the right,
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title or interest in the Subject Property, any additional facts supporting the

petitioner's claim and the relief sought.

      8.     If a petition is filed by a third-party,   and aft'er the disposition of any

motion filed under Fed. R. Crim. P. 32.2(c)(1XA) and before a hearing on the

petition, the parties may conduct discovery in accordancewith the Federal Rules of

Civil Procedure upon a showing that such discovery is necessary or desirable to

resolve factual issues.

      9.     The United States shall have clear title to the Subject Property

following the Court's disposition of all third-party interests, or, ifnone, following the

expiration of the period provided in 21 U.S.C. $ 853(nX2) for the filing of third-

party petitions.

       10.   The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary,pursuant to Fed. R. Crim. P. 32.2(e).




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       11.   The Clerk of the Court shall forward two certified copies of this order

to Assistant U.S. Attorney E. Greg Gilluly, Jr., United States Attorney's Office for

the Southern District of Georgia, P.O. Box 8970, Savannah, Georgia 31412.



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                                      HON. WILLIAM T. MOORE,JR.
                                      UNITED STATESDISTRICT COURT
                                      SOUTHERNDISTRICT OF GEORGIA




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Assistant United States Attorney
TennesseeBar Number 019397
P.O.Box 8970
Savamah, Georgia31412


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Ron Allen, Defendant
Defendant


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Josb{ra Lowther, Esq.
Attorney for the Defendant
